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IN THE UNITED STATES BANKRUPTCY C()URT
FOR THE DISTRICT OF DELAWARE

ln re: : Chapter 7
CODE REBEL CORPORATION, : Case No. 16-11236 (BLS)
Debtor_ Objection Deadline: August 2, 2017 at 4:00 p.m.

z Hearing Date: August 9, 2017 at 9:15 a.m.

SEC()ND INTERIM FEE APPLICATI()N OF COZEN O’C()NNOR FOR
ALLOWANCE ()F COMPENSATION AND REIMBURSEMENT ()F EXPENSES
AS COUNSEL TO JEOFFREY L. BURTCH., CHAPTER 7 TRUSTEE
Pursuant to Sections 330 and 331 of Title 11 of the United States Code, 11 U.S.C.
§§ 101-1330 (the “Bankruptcy Code”) and Rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), Cozen O’Connor (“Cozen”) hereby files this second

 

interim application (the “ p_plication”) for allowance of interim compensation in the amount of
$68,279.00 and reimbursement of expenses in the amount of $590.90 for a total of $68,869.90
for the interim period November 1, 2016 through June 30, 2017 (the “Second Interim Period”).
In support of this Application, Cozen respectfully represents as folloWs:
Jurisdiction

l. The Court has jurisdiction over this Application pursuant to 28 U.S.C. § 1334.
This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

2. Venue of this proceeding and this Application is proper in this district pursuant to
28 U.S.C. §§ 1408 and 1409.

3. The statutory predicates for the relief sought herein are sections 327(a), 328(a),
330, and 331 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 _e_t §§q. (the “Bankruptcy

Code”) and Federal Rule of Banl<ruptcy Procedure 2014.

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Background

4. On May 18, 2016, the above-captioned debtor (the “MQ;”) filed a voluntary
petition for relief under Chapter 7 of Title 11 of the Bankruptcy Code.

5. Jeoffrey L. Burtch Was appointed as interim trustee (the “IM”) on or about
May 18, 2016, pursuant to section 701 of the Bankruptcy Code. The meeting pursuant to section
341(a) of the Bankruptcy Code Was held and concluded on June 14, 2016, and no trustee Was
elected to replace Mr. Burtch.

6. On June 16, 2016, the Trustee filed an Application to Employ Cozen O’Connor as
General Counsel to the Trustee Nunc Pro Tunc to June 3, 2016 (the “Retention Application”)
[Docket No. 13].

7. On July 14, 2016, the Court entered an Order approving the Retention Application
and authorizing Cozen’s retention nunc pro tunc to June 3, 2016 [Docket No. 18].

8. Through the Retention Application, the Trustee requested that Cozen be (i)
retained to represent the Trustee, and (ii) compensated on an hourly basis and be reimbursed for
actual and necessary out-of-pocket expenses.

9. During the period covered by this Application, Cozen has received no payment
and no promises for payment from any source for services rendered or to be rendered in any
capacity in connection With the matters covered by this Application. There is no agreement or
understanding between Cozen and any other person other than among the shareholders of Cozen
for the sharing of compensation to be received for services rendered in this case.

10. No previous fee application has been filed for the fees and expenses requested

herein.

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ll. On November 8, 2016, Cozen filed its First Interim Fee and Expense Application
for Allowance of Compensation and Reimbursement of Expenses (the “First Interim
Application”) requesting a total of $119,260.31 for the interim period June 3, 2016 through
October 31, 2016. On December 12, 2016, an Order was entered approving the First Interim
Application and allowing payment of the requested fees and the requested expenses

Identitv of Professionals

12. The members, associates, and paraprofessionals of Cozen who have rendered
professional services in this case during the Second Interim Period are as follows: Mark E.
Felger; Barry Klayman; Sirnon E. Fraser; Gregory F. Fischer; Maryann Millis; and Andrew May.
Each professional’s and paraprofessional’s hourly rate, area of practice, and years in practice are
set forth on a chart attached hereto as Exhibit “A.”

Summarv of Services bv Proiect

13. Cozen serves as counsel to the Trustee and has advised the Trustee with respect to
various issues in connection with this case, with the principal activities being (i) the review of
the Debtor’s tangible assets to determine how best to maximize value; (ii) review of documents
and conferences with the SEC and the Debtor regarding the SEC investigation and potential
claims against former management; (iii) the negotiation and settlement with former officers and
directors of the Debtor regarding relief from the automatic stay to enable the former directors
access to the D&O policy proceeds; (iv) review of pending securities litigation; (v) negotiations
with former management, counsel for the insurer and counsel for the securities plaintiffs
regarding a global settlement of all claims against former management; and (vi) the review of

claims filed against the estate.

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14. The services rendered by Cozen during the Second Interim Period can be grouped
into the categories set forth below. The attorneys and paraprofessionals who rendered services
relating to each category are identified, along with the number of hours and the total
compensation sought for each category, in Exhibit “A” attached hereto.

A. BKA400: General/Case Administration

Fees $5,580.50 Total Hours: 11.5

This category includes tasks related to the administration of this case, including:
maintaining required mailing lists; case management; monitoring the case docket; attending to
in-house files and file maintenance; requesting turnover of documents from Debtor’s former
counsel and the review of such documents This category also includes meetings and
conferences in which multiple matters were addressed that cannot easily be allocated to other
task codes.

B. BKA417: Asset Disposition

Fees: $1,325.00 Total Hours: 2.8

This category includes tasks related to a review and assessment of intellectual property of
the Debtor. This category also includes tasks related to the possible recovery of assets not listed
in the Debtor’s bankruptcy schedules.

C. g BKA417: Claims Review/Obiections

Fees: $775.00 Total Hours: 1.2
This category includes tasks related to the evaluation and reconciliation of claim issues.
D. BKA422: Fee/Emplovment Applications

Fees: $104.00 Total Hours: .4

This category includes tasks related to the application to retain an asset recovery agent.

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E. BKA427: Litigation
Fees: $57,942.50 TotalHours: 88.6

This category includes tasks related to the pending SEC investigation and the
investigation of claims against former management This category also includes tasks relating
the negotiation of a global settlement of the estate’S claims and pending securities litigation with
the former directors and officers and the insurance carrier, including the preparation and filing of
a motion to approve the settlement

F. BKA428: Cozen O’Connor Fee Applications

Fees: $2,552.00 Total Hours: 7.1

This category includes tasks related to the preparation and filing of Cozen’s First Interim

Application as well as the preparation of a draft of Cozen’s Second Interim Application.
Description and Valuation of Services
15. Cozen attorneys and paralegals have expended a total of 111.6 hours in

connection with this matter during the Second Interim Period as follows:

 

ATTORNEYS/PARALEGALS HOURS K_A_'I_]Q_
Mark E. Felger 25 .9 $730
Mark E. Felger 24.3 $720
Barry M. Klayman 15.5 $720
Barry M. Klayman 6.2 $650
Simon E. Fraser 19.5 $565
Gregory F. Fischer .5 $415
Gregory F. Fischer 2.6 $390
Maryann Millis 8.6 $270
Maryann Millis 7.5 $260
Andrew May 1.0 $175

16. The nature of the work performed by each person is nllly set forth in Exhibit “A”

attached hereto. The rates charged to these estates are Cozen’s normal hourly rates for work of

 

1 Cozen’s hourly rates are increased annually on January 15‘.

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this nature. The reasonable value of the services rendered by Cozen to the Trustee during the
Second Interim Period is $68,279.00.

17. In accordance with the factors enumerated in Section 330 of the Bankruptcy
Code, Cozen respectfully submits that the amount requested is fair and reasonable given (a) the
complexity of the case, (b) the time expended, (c) the nature and extent of the services rendered,
(d) the value of such services, and (e) the costs of comparable services other than in a case under
this title. Moreover, Cozen has reviewed the requirements of Local Rule 2016~2 and believes
that this Application complies with that Local Rule.

Actual and Necessarv Expenses

18. A summary of the actual and necessary expenses incurred by Cozen for the
Second Interim Period is attached hereto as Exhibit “B.” Cozen utilizes outside copier services
for high-volume projects, and this Application seeks the recovery of those costs. Cozen also
charges all of its clients $1.00 per page for outgoing facsimile transactions Gn-line legal
research (LexisNexis and Westlaw) is charged to clients at Cozen’s discounted cost. The
standard cost of LexisNexis and Westlaw research sessions is discounted each month by
allocating the savings realized during that month pursuant to special contracts that Cozen has
negotiated with LexisNexis and Westlaw.

19. Cozen believes that the foregoing rates are at or below the market rates that the
majority of law firms charge for such services In addition, Cozen believes that such charges are
in accordance with the American Bar Association’s (“_A_BA”) guidelines, as set forth in the
ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

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WHEREFORE, Cozen respectfully requests that this Court enter an Order in substantially
the form attached hereto as Exhibit “C:” (a) allowing Cozen (i) interim compensation in the
amount of $68,279.00 for actual, reasonable, and necessary professional services rendered on
behalf of the Trustee during the interim period of November 1, 2016 through June 30, 2017, and
(ii) reimbursement in the amount of $590.90 for actual, reasonable, and necessary expenses
incurred during the same period; (b) authorizing the Trustee to pay Cozen the amount of

$67,768.00; and (c) granting any further relief that may be appropriate

Dated: July 12, 2017 O ’

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Email: mfelger@cozen.com

 

 

Counselfor Jeonrey L. Burtch,
Chapter 7 Trustee

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VERIFICATION

STATE OF DELAWARE
SS

COUNTY OF NEW CASTLE

Mark E. Felger, after being duly sworn according to law, deposes and says:
a) I am a Shareholder with the applicant firm, Cozen O’Connor.
b) l have personally performed or supervised the legal services rendered by Cozen
O’Connor, as counsel to Jeoffrey L. Burtch, Chapter 7 Trustee of Code Rebel Corporation.
c) l have reviewed the foregoing Application, and the facts set forth therein are true and
correct to the best of my knowledge, information, and belief. Moreover, l have reviewed Local

Rule 2016-2, and submit that the Application substant` ly plies s ch Rule.

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Sworn to and subscribed before
me this 12th day of July 2017

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Notary Pub'iic (7

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